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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA

   v.                                                 Case No.: 1:21-cr-00371-BMC-TAM

   AL MALIK ALSHAHHI, et al.                          ORAL ARGUMENT REQUESTED

   Defendants.



        NON-PARTY ALISON MARCKSTADT’S MOTION TO QUASH RULE 17(C)
                              SUBPOENA

         Now into Court, through undersigned counsel, comes Non-party Alison Marckstadt (“Ms.

  Marckstadt”). Ms. Marckstadt files this Motion to Quash a trial subpoena issued by the

  government on August 29, 2022 (the “August 2022 Subpoena”) and formally served on August

  30, 2022, pursuant to Federal Rule of Criminal Procedure 17 (“Rule 17”). The August 2022

  Subpoena demands production of documents responsive to twelve overbroad categories and

  makes no effort to comply with the requirements of the standard set forth in United States v.

  Nixon, 418 U.S. 683 (1974). Moreover, the August 2022 Subpoena seeks production of

  privileged and work product information and of documents that have already been produced to

  the government.

  Dated: September 1, 2022                         Respectfully submitted,

                                                   CHIESA SHAHINIAN & GIANTOMASI


                                                      /s/ Emil Bove
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